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                    EXHIBIT H
   Case 4:23-cv-00609-BJ Document 1-8 Filed 06/15/23                                       Page 2 of 3 PageID 308

                                                  Filing Results

                                                                                       Date:        08/06/2021
                                                                                       Order #:     81853464
LESLIE HOFER                                                                           Customer #: 507110
Husch Blackwell LLP                                                                    Reference 1: 546046-014
190 Carondelet Plaza                                                                   Reference 2: BanCorp South
Suite 600                                                                                           Bank - Bridgelink
Saint Louis, MO 63105                                                                               Eng


Target Name: Bighorn Investments and Properties, LLC


Jurisdiction: Secretary of State, Wyoming


         Filing Type:     UCC Financing Statement                                              Searched Through: --
         Results:         See attached filing acknowledgement
Document Listing:

File #                                         File Date                                     Type of Filing

2021-19745122                                  08/06/2021                                    Original Financing Statement




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                                                           1 of 1
             Case 4:23-cv-00609-BJ Document 1-8 Filed 06/15/23                                                       Page 3 of 3 PageID 309
                                                                                                    This document is a representation of a filing made electronically through
                                                                                                    the Wyoming Secretary of State's web site.
FINANCING STATEMENT
 A. NAME & PHONE OF CONTACT AT FILER (Optional)                                                     EDWARD A. BUCHANAN, WY SECRETARY OF STATE
      WOLTERS KLUWER LIEN SOLUTIONS 8003313282                                                      Filing Date: 8/6/2021 3:45 PM
 B. EMAIL OF CONTACT AT FILER (Optional)                                                            Lapse Date: 8/6/2031 11 :59 PM
      uccfilingreturn@wolterskluwer.com                                                             Financing Statement Doc#: 2021-19745122
 C. SEND ACKNOWLEDGMENT TO: (Name and Address)

     'L.1 EN SOLUTIONS
                                                                                         7
       PO BOX 29071
       GLENDALE, CA 91209-9071


     L                                                                                   _J
                                                                                                       THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

DEBTORS



    1. DEBTOR'S NAME
        a. ORGANIZATION'S NAME
    OR BIGHORN INVESTMENTS AND PROPERTIES, LLC
        b. INDIVIDUAL'S SURNAME          FIRST PERSONAL NAME                                                          ADDITIONAL NAME(S) INITIAL(S)             SUFFIX

    c. MAILING ADDRESS
         777 MAIN STREET, SUITE 2800
    CITY                                                                STATE                 POSTAL CODE             COUNTRY
         FORT WORTH                                                       TEXAS                76102                     USA
SECURED PARTIES

    1. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY)
       a. ORGANIZATION'S NAME
    OR BANCORPSOUTH BANK
       b. INDIVIDUAL'S SURNAME                                          FIRST PERSONAL NAME                           ADDITIONAL NAME(S) INITIAL(S)             SUFFIX

    c. MAILING ADDRESS
        2800 NORTH LOOP WEST, SUITE 1000
    CITY                                                                STATE                 POSTAL CODE             COUNTRY
         HOUSTON                                                          TEXAS                77092                    USA
COLLATERAL: This financing statement covers the following collateral:


All assets of Debtor, wherever located, and whether now owned or hereafter acquired or arising.


Check Q!lU( if applicable and check.QD.]y one box: Collateral is     D held in a Trust
                                                                     Obeing administered by a Decedent's Personal Representative

Check only if applicable and check only one box:          □ Agricultural Lien       □ Non-UCC Filing

RECORD TYPE:          UCC

DESIGNATION:          Debtor/ Secured Party

OPTIONAL FILER REFERENCE DATA:
    WY-0-81853470

NOTE: All information on this form is public record.




                                                                   FINANCING STATEMENT {Form UCC1)                                                            Page 1 of 1
                                                                                                                                                               2021-19745122
